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                          IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   NORTHERN DIVISION
                     _________________________________________________

 MICHAEL MILES,

                Plaintiff,                                 Case No.: 1:14-cv-10971
 v
                                                           Hon. Thomas L. Ludington
 TREETOPS ACQUISITION COMPANY, LLC,

                Defendant.



      STIPULATED ORDER DIRECTING CLERK OF COURT TO REOPEN CASE AND
                    DISMISSING CLAIMS WITH PREJUDICE

       In accordance with the parties’ stipulation through their undersigned counsel, and this Court

being fully advised in the premises;

       It is ORDERED that the Clerk of Court is DIRECTED to reopen this matter following the

administrative closure on December 16, 2014, ECF No. 17.

       It is further ORDERED that this matter shall be, and hereby is, DISMISSED with prejudice

pursuant to the terms of the parties’ Confidential Settlement and Release Agreement.


Dated: February 12, 2016                           s/Thomas L. Ludington
                                                   THOMAS L. LUDINGTON
                                                   United States District Judge

Approved as to Form and Substance:

 /s/ Owen B. Dunn, Jr                         /s/ Brett A. Rendeiro
Owen B. Dunn, Jr., Esq.                      Brett A. Rendeiro (P64792)
Law Office of Owen B. Dunn, Jr.              VARNUM LLP
Attorney for Plaintiff                       Attorneys for Defendant
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                                         PROOF OF SERVICE

                The undersigned certifies that a copy of the foregoing order was served
                upon each attorney or party of record herein by electronic means or first
                class U.S. mail on February 12, 2016.

                                                  s/Michael A. Sian
                                                  MICHAEL A. SIAN, Case Manager
